                       Case 22-30001                  Doc 5           Filed 01/13/22 Entered 01/13/22 09:25:14                                                   Desc Main
                                                                        Document     Page 1 of 12
 Fill in this information to identify your case:

 Debtor 1                   Brent Alan Hindman
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF NORTH CAROLINA

 Case number            22-30001
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             393,200.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $             221,250.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             614,450.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             156,406.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             810,935.00


                                                                                                                                     Your total liabilities $                   967,341.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $              10,832.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                9,055.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                 Case 22-30001                    Doc 5          Filed 01/13/22 Entered 01/13/22 09:25:14                     Desc Main
                                                                   Document     Page 2 of 12
 Debtor 1      Brent Alan Hindman                                                         Case number (if known) 22-30001

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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                       Case 22-30001                     Doc 5              Filed 01/13/22 Entered 01/13/22 09:25:14                                        Desc Main
                                                                              Document     Page 3 of 12
 Fill in this information to identify your case and this filing:

 Debtor 1                    Brent Alan Hindman
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF NORTH CAROLINA

 Case number            22-30001                                                                                                                                  Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                             12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2009 Sentinel Drive
        Street address, if available, or other description
                                                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Indian Trail                      NC        28079-0000                        Land                                       entire property?             portion you own?
        City                              State              ZIP Code                 Investment property                               $393,200.00                  $393,200.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              tenants by the entirety
        Union                                                                         Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another        (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                value is from Zillow as of 12.6.21


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                         $393,200.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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                  Case 22-30001                   Doc 5          Filed 01/13/22 Entered 01/13/22 09:25:14                                       Desc Main
                                                                   Document     Page 4 of 12
 Debtor 1        Brent Alan Hindman                                                                                 Case number (if known)       22-30001
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Toyota                                                                                                   Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Tundra                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2009                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                227,000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        VIN 5TFBW54109X088818
                                                                Check if this is community property                                    $8,600.00                  $4,300.00
                                                                     (see instructions)



  3.2    Make:       Nissan                                                                                                   Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Murano                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2012                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                115,000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        VIN JN8AZ1MW5CW222294
                                                                Check if this is community property                                    $7,700.00                  $3,850.00
                                                                     (see instructions)



  3.3    Make:       Kawasaki                                                                                                 Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Ninja ZX14R                                Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2012                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                    3500           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        VIN JKBZXE12CA000460, KBB
        value 12.6.21                                           Check if this is community property                                    $6,180.00                  $6,180.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $14,330.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Living room: sofa, loveseat, chair, coffee table, end table, lamps
                                    (approx. 17 years old)                                                                                                            $250.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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                 Case 22-30001                    Doc 5          Filed 01/13/22 Entered 01/13/22 09:25:14                     Desc Main
                                                                   Document     Page 5 of 12
 Debtor 1       Brent Alan Hindman                                                                  Case number (if known)     22-30001


                                    Dining Room: table, 6 chairs, storage cabinet, pictures, mirror (all
                                    approx. 15 years old)                                                                                          $350.00


                                    Family room/den: leather couch and chair, loveseat, 2 end tables, 2
                                    lamps                                                                                                          $400.00


                                    Bedroom furniture (3 bedrooms): 3 beds, 3 chairs, 5 dressers, 3
                                    ceiling fans                                                                                                   $750.00


                                    Kitchen: stove, dishwasher, refrigerator/freezer, microwave,
                                    plates, utensils, pots and pans, coffee maker, small appliances                                                $400.00


                                    Laundry room: washer and dryer, table                                                                          $200.00


                                    Garage and patio: tools, bicycles, lawn mower, refrigerator,
                                    microwave, lawn furniture                                                                                      $350.00


                                    Miscellaneous: books, family pictures, video tapes                                                               $50.00


                                    office/bonus room (misc. furniture, loveseat, sofa, couch, lamps)                                              $375.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    televisions, computer, printer, monitor                                                                        $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    used clothing                                                                                                  $250.00



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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                    Case 22-30001                            Doc 5              Filed 01/13/22 Entered 01/13/22 09:25:14                             Desc Main
                                                                                  Document     Page 6 of 12
 Debtor 1          Brent Alan Hindman                                                                                       Case number (if known)   22-30001
12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            wedding band                                                                                                               $250.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $3,825.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                  Cash, pocket
                                                                                                                                  change                                 $20.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:
                                                                                                 Fifth Third Bank, acct. no. xxx7904 (spouse
                                                          checking,                              also deposits funds into this account for
                                              17.1.       individual account                     payment of joint expenses)                                          $2,625.00



                                              17.2.       checking                               Truist Bank, acct. no. xxx5833                                        $240.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                                  Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
Official Form 106A/B                                                                     Schedule A/B: Property                                                            page 4
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                 Case 22-30001                    Doc 5          Filed 01/13/22 Entered 01/13/22 09:25:14                           Desc Main
                                                                   Document     Page 7 of 12
 Debtor 1        Brent Alan Hindman                                                                        Case number (if known)   22-30001

     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                       Type of account:                  Institution name:

                                       IRA (current value                Merrill Lynch acct. no. xxx9020
                                       approximate, recently
                                       converted from a 401(k))                                                                                 $173,741.00


                                       401(k)                            Nederman MikroPul 401(k)                                                   $9,563.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                         Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                   529 education account, NC 529 Fund (The Debtor's spouse has contributed
                                   her separate funds to this account, via joint account xxx7904 with Fifth
                                   Third. The Debtor takes the position that his spouse is owner of one-half of
                                   the balance of this account.)                                                                                  $16,906.00


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
Official Form 106A/B                                                 Schedule A/B: Property                                                               page 5
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                  Case 22-30001                       Doc 5            Filed 01/13/22 Entered 01/13/22 09:25:14                                                Desc Main
                                                                         Document     Page 8 of 12
 Debtor 1        Brent Alan Hindman                                                                                              Case number (if known)        22-30001

     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             term life insurance, homeowners,
                                             automobile and health insurance                                                                                                          $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $203,095.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 6
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                   Case 22-30001                         Doc 5            Filed 01/13/22 Entered 01/13/22 09:25:14                                               Desc Main
                                                                            Document     Page 9 of 12
 Debtor 1         Brent Alan Hindman                                                                                                    Case number (if known)   22-30001

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $393,200.00
 56. Part 2: Total vehicles, line 5                                                                          $14,330.00
 57. Part 3: Total personal and household items, line 15                                                      $3,825.00
 58. Part 4: Total financial assets, line 36                                                                $203,095.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $221,250.00               Copy personal property total             $221,250.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $614,450.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
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                       Case 22-30001              Doc 5          Filed 01/13/22 Entered 01/13/22 09:25:14                               Desc Main
                                                                  Document     Page 10 of 12
 Fill in this information to identify your case:

 Debtor 1                  Brent Alan Hindman
                           First Name                       Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF NORTH CAROLINA

 Case number            22-30001
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2009 Sentinel Drive Indian Trail, NC                                                                                       11 USC § 522(b)(3)(B)
      28079 Union County
                                                                     $393,200.00                               $224,200.00
      value is from Zillow as of 12.6.21                                                 100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit

      2009 Toyota Tundra 227,000 miles                                                                                           N.C. Gen. Stat. § 1C-1601(a)(3)
      VIN 5TFBW54109X088818
                                                                       $4,300.00                                  $3,500.00
      Line from Schedule A/B: 3.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2009 Toyota Tundra 227,000 miles                                                                                           N.C. Gen. Stat. § 1C-1601(a)(2)
      VIN 5TFBW54109X088818
                                                                       $4,300.00                                    $800.00
      Line from Schedule A/B: 3.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2012 Nissan Murano 115,000 miles                                                                                           N.C. Gen. Stat. § 1C-1601(a)(2)
      VIN JN8AZ1MW5CW222294
                                                                       $3,850.00                                  $3,850.00
      Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      Living room: sofa, loveseat, chair,                                                                                        N.C. Gen. Stat. § 1C-1601(a)(4)
      coffee table, end table, lamps
                                                                          $250.00                                   $250.00
      (approx. 17 years old)                                                             100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                             any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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                 Case 22-30001                    Doc 5          Filed 01/13/22 Entered 01/13/22 09:25:14                                Desc Main
                                                                  Document     Page 11 of 12
 Debtor 1    Brent Alan Hindman                                                                          Case number (if known)     22-30001
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Dining Room: table, 6 chairs, storage                                                                                        N.C. Gen. Stat. § 1C-1601(a)(4)
     cabinet, pictures, mirror (all approx.
                                                                         $350.00                                  $350.00
     15 years old)                                                                     100% of fair market value, up to
     Line from Schedule A/B: 6.2                                                           any applicable statutory limit

     Family room/den: leather couch and                                                                                           N.C. Gen. Stat. § 1C-1601(a)(4)
     chair, loveseat, 2 end tables, 2 lamps
                                                                         $400.00                                  $400.00
     Line from Schedule A/B: 6.3                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom furniture (3 bedrooms): 3                                                                                            N.C. Gen. Stat. § 1C-1601(a)(4)
     beds, 3 chairs, 5 dressers, 3 ceiling
                                                                         $750.00                                  $750.00
     fans                                                                              100% of fair market value, up to
     Line from Schedule A/B: 6.4                                                           any applicable statutory limit

     Kitchen: stove, dishwasher,                                                                                                  N.C. Gen. Stat. § 1C-1601(a)(4)
     refrigerator/freezer, microwave,
                                                                         $400.00                                  $400.00
     plates, utensils, pots and pans,                                                  100% of fair market value, up to
     coffee maker, small appliances                                                        any applicable statutory limit
     Line from Schedule A/B: 6.5

     Laundry room: washer and dryer,                                                                                              N.C. Gen. Stat. § 1C-1601(a)(4)
     table
                                                                         $200.00                                  $200.00
     Line from Schedule A/B: 6.6                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Garage and patio: tools, bicycles,                                                                                           N.C. Gen. Stat. § 1C-1601(a)(4)
     lawn mower, refrigerator, microwave,
                                                                         $350.00                                  $350.00
     lawn furniture                                                                    100% of fair market value, up to
     Line from Schedule A/B: 6.7                                                           any applicable statutory limit

     Miscellaneous: books, family                                                                                                 N.C. Gen. Stat. § 1C-1601(a)(4)
     pictures, video tapes
                                                                          $50.00                                   $50.00
     Line from Schedule A/B: 6.8                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     office/bonus room (misc. furniture,                                                                                          N.C. Gen. Stat. § 1C-1601(a)(4)
     loveseat, sofa, couch, lamps)
                                                                         $375.00                                  $375.00
     Line from Schedule A/B: 6.9                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     televisions, computer, printer,                                                                                              N.C. Gen. Stat. § 1C-1601(a)(4)
     monitor
                                                                         $200.00                                  $200.00
     Line from Schedule A/B: 7.1                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     used clothing                                                                                                                N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 11.1
                                                                         $250.00                                  $250.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     wedding band                                                                                                                 N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 12.1
                                                                         $250.00                                  $250.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




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                                                                  Document     Page 12 of 12
 Debtor 1    Brent Alan Hindman                                                                          Case number (if known)     22-30001
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash, pocket change                                                                                                          N.C. Gen. Stat. § 1-362
     Line from Schedule A/B: 16.1
                                                                          $20.00                                   $20.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     checking, individual account: Fifth                                                                                          N.C. Gen. Stat. § 1-362
     Third Bank, acct. no. xxx7904
                                                                       $2,625.00                                $5,250.00
     (spouse also deposits funds into this                                             100% of fair market value, up to
     account for payment of joint                                                          any applicable statutory limit
     expenses)
     Line from Schedule A/B: 17.1

     checking: Truist Bank, acct. no.                                                                                             N.C. Gen. Stat. § 1C-1601(a)(2)
     xxx5833
                                                                         $240.00                                  $125.00
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA (current value approximate,                                 $173,741.00                                                 N.C. Gen. Stat. § 1C-1601(a)(9)
     recently converted from a 401(k)):
     Merrill Lynch acct. no. xxx9020                                                      100% of fair market value, up to
     Line from Schedule A/B: 21.1                                                          any applicable statutory limit


     401(k): Nederman MikroPul 401(k)                                                                                             N.C. Gen. Stat. § 1C-1601(a)(9)
     Line from Schedule A/B: 21.2
                                                                       $9,563.00                                $9,563.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     529 education account, NC 529 Fund                               $16,906.00                                                 N.C. Gen. Stat. §
     (The Debtor's spouse has                                                                                                     1C-1601(a)(10)
     contributed her separate funds to                                                    100% of fair market value, up to
     this account, via joint account                                                       any applicable statutory limit
     xxx7904 with Fifth Third. The Debtor
     takes the position that his spouse is
     owner of one-half of the balance of
     this account.)
     Line from Schedule A/B: 24.1


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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